


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (D’Emic, J.), imposed April 27, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Bradshaw, 18 NY3d 257, 264-267 [2011]; People v Tusa, 142 AD3d 680 [2016]; People v Veliz, 142 AD3d 630 [2016]).
 

  Eng, P.J., Chambers, Sgroi, Maltese and Connolly, JJ., concur.
 
